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                                                   #:927
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

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       Case No.      8:23-cv-00268-WLH-DFMx                                     Date   August 1, 2024

       Title         Applied Medical Resources Corporation v. Medtronic, Inc.
       Present: The Honorable         WESLEY L. HSU, United States District Judge
                     Holidae Crawford                                           N/A
                       Deputy Clerk                                       Court Reporter
              Attorneys Present for Plaintiffs:                   Attorneys Present for Defendant:
                            N/A                                                 N/A
       Proceedings: (IN CHAMBERS) ORDER ON DEFENDANT MEDTRONIC’S
                    MOTION TO AMEND SCHEDULING ORDER [92]

            Before the Court is the Motion to Amend the Scheduling Order (the “Motion,”
      Docket No. 92) brought by Defendant Medtronic, Inc. (“Medtronic”). Medtronic seeks
      an eleven-week continuance of the trial and a modification of the briefing schedule for
      summary judgment and Daubert motions. Medtronic argues that a continuance is
      merited because Plaintiff Applied Medical Resources Corporation (“Applied”) has
      produced “over 1.8 million pages and files” since May 1, 2024, (id. at 3), “preventing
      Medtronic and its experts from making effective and efficient use of these materials in
      expert reports and at summary judgment,” (id. at 7).

            Applied agrees that the scheduling order should be modified but opposes the
      schedule Medtronic proposes. (See Opp’n, Docket No. 101). Applied argues that its
      voluminous document productions up to and beyond the discovery deadline are the result
      of Medtronic’s addition of seven custodians near the close of fact discovery. (Id. at 5–6).
      Applied requests a more conservative a six-week continuance of the trial date.

            On June 28, 2024, citing flaws in Applied’s document production, Medtronic
      applied ex parte for an order compelling Applied to produce (1) an updated disclosure
      about its technology assisted review (“TAR”) model, and if necessary, additional
      documents to meet the requirements of the parties’ TAR agreement; (2) archived e-mail
      attachments; and (3) chat transcripts. (Ex Parte App. for Further Production, Docket No.
      89). On July 18, 2024, Judge McCormick denied Medtronic’s Ex Parte Application as to

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the updated TAR disclosure and the chat transcripts. (Order re Ex Parte App., Docket
No. 99).

      Under Federal Rule of Civil Procedure 16(b)(4), “[a] schedule may be modified
only for good cause and with the judge’s consent.” The “good cause” standard
“primarily considers the diligence of the party seeking the amendment.” Coleman v.
Quaker Oats Co., 232 F.3d 1271, 1294 (9th Cir. 2000) (quotation and citation omitted).

       Both parties have worked diligently to conduct discovery. The parties conducted
45 depositions in the last six weeks of the fact discovery period, which ended on June 14,
2024. (Decl. of Surya Saxena, Docket No. 92-2 ¶ 2). The parties are still in the process
of reviewing millions of pages produced during that discovery period. (Id. ¶ 3).

       Applied does not argue that Medtronic has not diligently pursued discovery.
Applied merely argues that Medtronic does not need more than an additional six weeks to
prepare for trial, especially considering Judge McCormick’s recent denial of Medtronic’s
Ex Parte Application. The fact remains, however, that both parties must sift through
voluminous discovery. Indeed, Medtronic’s proposed continuance will allow both parties
to file meaningful expert reports, rebuttal reports, Daubert motions, and/or summary
judgment motions. This is a complex anti-trust matter, and it is apparent from the Motion
papers that allowing more time before proceeding to trial will benefit both parties and
allow the Court to decide the matter on the merits. Moreover, Applied gives no
explanation for why it is not amenable to the schedule Medtronic proposes. Cf. In re
Nat’l Football League’s Sunday Ticket Antitrust Litig., No. ML15-2668-PSG-JEMX,
2022 WL 17886006, at *2 (C.D. Cal. Aug. 11, 2022) (granting plaintiffs’ motion to
modify scheduling order in part because defendants “do not contend that they will be
prejudiced if Plaintiffs’ motion is granted”).

      The Court therefore finds there is good cause to GRANT the Motion.               The
schedule is modified as follows:

Event                                            New Deadline
Rebuttal Expert Disclosures1                     October 18, 2024



1
 The Court previously continued the deadline to file Initial Expert Disclosures from July
19, 2024, to August 16, 2024. (See Order, Docket No. 98).
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      Expert Reply Reports                           November 8, 2024

      Close of Expert Discovery                      November 22, 2024

      Summary Judgment Meet & Confer                 November 27, 2024

      Summary Judgment: Moving Party                 December 4, 2024
      Exchange
      Summary Judgment: Opposing Party               January 8, 2025
      Exchange
      Deadline to File Joint Motion for Summary      January 10, 2025
      Judgment
      Deadline to File Summary Judgment Reply        January 31, 2025

      Last Date to Hear Summary Judgment February 21, 2025
      Motions
      Meet & Confer re: Motions to Exclude December 13, 2024
      Expert Reports
      Deadline to File Motions to Exclude Experts December 20, 2024

      Deadline to file Oppositions to Motions        January 10, 2025
      to Exclude Experts
      Deadline to file Replies to Motions to         January 20, 2025
      Exclude Experts
      Last Date to Hear Motions to Exclude           February 7, 2025
      Experts
      Deadline to Complete Settlement Conference     April 11, 2025

      Trial Filings (first round)                    April 18, 2025

      Trial Filings (second round)                   May 2, 2025

      Final Pretrial Conference                      May 16, 2025

      Jury Trial/Trial-Ready Date                    June 2, 2025



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